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                               EXHIBIT B
FILED: NASSAU COUNTY CLERK 02/29/2024 12:41 PM                                                               INDEX NO. 603545/2024
         Case
NYSCEF DOC. NO.2:24-cv-02439-BMC
                3                                 Document 1-3          Filed 04/01/24         Page RECEIVED
                                                                                                    2 of 3 PageID #: 3302/29/2024
                                                                                                              NYSCEF:
   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF NASSAU
                                                                                ATTORNEY: BARKET EPSTEIN KEARON ALDEA &
   Yossef Kahlon
                                                                                LOTURCO, LLP
   Plaintiff(s),

   vs.                                                                          I   NDEX NUMBER: 60354512024


   County of Nassau, et al.                                                     DATE OF FILING: 0212812024
   Defendant(s).


                                                                                           AFFIDAVIT OF SERVICE
   STATE OF New York: COUNTY OF Nassau ss:

   l, Craig Eisenberg, being duly sworn deposes and says deponent is not a party to this action and is over the age of
   eighteen years and resides in the state of New York.

   That on 02t2812024 al2:29 PM at 1 West St, Mineola, NY 11501,
   Deponent served the Summons and Complaint bearing lndex Number and Date of Filing, Notice of Electronic
   Filing upon County of Nassau, defendanVrespondenUrecipient herein.

   Said service was effected in the following manner;

   By delivering to and leaving a true copy to Judith Urso personally, a person who stated to be authorized to receive
   pioces service for County of Nassau. Deponent knew said county agency so served to be the county agency described
   in said Summons and Complaint bearing Index Number and Date of Filing, Notice of Electronic Filing as said
   defendanUrespondenUrecipient. Deponent knew the individual accepting service to be an/the Clerk thereof.

   Deponent describes the individual served to the best of deponent's ability at the time and circumstances of service as
   follows: Sex: Femate Skin: White Hair: Brown Age (Approx): 50 Height(Approx): 5'4" Weight(Approx): 120-130 lbs
   Glasses: Yes Other:

   I certify that the foregoing statements made by me are true, correct and my free act and deed. I am aware that if any of
   the foregoing statements made by me are willfully false, I am subject to punishment.




                                                                    Craig Eisenberg
   Sworn to before me this

   Feb             Aq     2024


   HENRY T. GOODMAN
   NOTARY PUBLIC, STATE OF NEW YORK
   REGISTRATION NO. O1 G05049931
   QUALIFIED IN NASSAU COUNTY
   COMMISSION EXPIRES SEPTEMBER 25, 2025
               Ultimate Process & Attorney Services, lnc. 585 Stewart Ave, Ste 1L16, Garden City, NY 11530 516-333-3447 Lic#1376O42
                                                                                                                 Case No: 1695656

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FILED: NASSAU COUNTY CLERK 02/29/2024 12:41 PM                                                                 INDEX NO. 603545/2024
         Case
NYSCEF DOC. NO.2:24-cv-02439-BMC
                2                                 Document 1-3          Filed 04/01/24           Page RECEIVED
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                                                                                                                NYSCEF:
   SUPREME COURT OF THE STATE OF NEW YORK
   COUNTY OF NASSAU
                                                                                  ATTORNEY: BARKET EPSTEIN KEARON ALDEA &
   Yossef Kahlon
                                                                                  LOTURCO, LLP
   Plaintiff(s),

   vs.                                                                            I   NDEX N UMBER: 60354512024


   County of Nassau, et al.                                                       DATE OF FILING: 0212812024
   Defendant(s).


                                                                                             AFFIDAVIT OF SERVICE
   STATE OF New York: COUNTY OF Nassau ss

   l, Craig Eisenberg, being duly sworn deposes and says deponent is not a party to this action and is over the age of
   eighteen years and resides in the state of New York.

   That on 2t2812024 at 2:29 PM at 1 West St, Mineola, NY 1 1 501        ,


   Deponent served the Summons and Gomplaint bearing lndex Number and Date of Filing, Notice of Electronic
   Filing upon John/Jane Doe Members of the Nassau County District Attorney's Office,
   defendanVrespondenVrecipient herein.

   Said service was effected in the following manner;

   By delivering to and leaving a true copy to Judith Urso personally, a person who stated to be authorized to receive
   piocess service for John/Jane Doe Members of the Nassau County District Aftorney's Office c/o the County of
   Nassau. Deponent knew the individual accepting service to be an/the Clerk thereof.

   Deponent describes the individual served to the best of deponent's ability at the time and circumstances of service as
   follows: Sex: Female Skin: White Hair: Brown Age (Approx): 50 Height(Approx): 5'4" Weight(Approx): 120-130 lbs
   Glasses: Yes Other:

   I certify that the foregoing statements made by me are true, correct and my free act and deed. I am aware that if any of
   the foregoing statements made by me are willfully false, I am subject to punishment.




                                                                    Craig Eisen



                               /__
   Sworn to before me this

   ,";,";lJ_;,
   HENRY T. GOODMAN
   NOTARY PUBLIC, STATE OF NEW YORK
   REGTSTRATION NO. 01 G05049931
   QUALIFIED IN NASSAU COUNW
   COMMISSION EXPIRES SEPTEMBER 25, 2025
               Ultimate Process & Attorney Services, lnc. 585 Stewart Ave, Ste L116, Garden City, NY 11530 516-333-3447 Lic#1376O42
                                                                                                                  Case No: 1695657

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